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 4   Attorney for Defendant
     GREGORY ROSS
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 6
 7                         IN THE UNITED STATES DISTRICT COURT
 8                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                         No. 2:10-CR-0211 KJN
11                                Plaintiff,           STIPULATION AND ORDER TO
                                                       CONTINUE GREGORY ROSS’
12          vs.                                        CHANGE OF PLEA, AND TO
                                                       EXCLUDE TIME PURSUANT TO THE
13   TERRY ROBERSON, et al.,                           SPEEDY TRIAL ACT
14                                Defendants.
15
16           IT IS HEREBY STIPULATED by and between the parties hereto through their
17   respective counsel, Jared Dolan, Assistant United States Attorney, attorney for plaintiff; and
18   Michael Hansen, attorney for defendant Gregory Ross, that the previously-scheduled change of
19   plea date of May 4, 2011, be vacated and the matter set for change of plea on May 18, 2011.
20           This continuance is requested to allow defense counsel additional time within which to
21   receive the executed original of the plea agreement from defendant Gregory Ross.
22          Accordingly, all counsel and the defendant agree that time under the Speedy Trial Act
23   from the date this stipulation is lodged, through May 18, 2011, should be excluded in
24   computing time within which trial must commence under the Speedy Trial Act, pursuant to
25   / / / / /
26   / / / / /
27   / / / / /
28   / / / / /


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     Stipulation and [Proposed] Order to Continue Gregory Ross’ Change of Plea
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 1   Title 18 U.S.C. §§ 3161(h)(7)(A) and (B)(iv), and Local Code T4 (reasonable time for defense
 2   counsel to prepare).
 3   Dated: May 3, 2011                                Respectfully submitted,
 4
                                                       /s/ Michael E. Hansen
 5                                                     MICHAEL E. HANSEN
                                                       Attorney for Defendant
 6                                                     GREGORY ROSS
 7   Dated: May 3, 2011                                /s/ Michael E. Hansen for
                                                       JARED DOLAN
 8                                                     Assistant U.S. Attorney
                                                       Attorney for Plaintiff
 9
10
                                              ORDER
11
            IT IS HEREBY ORDERED that the previously-scheduled change of plea date of
12
     May 4, 2011, be vacated and the matter set for change of plea on May 18, 2011. Time is
13
     excluded in the interests of justice pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and (B)(iv), and
14
     Local Code T4.
15
     DATED: May 3, 2011
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     Stipulation and [Proposed] Order to Continue Gregory Ross’ Change of Plea
